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JuL 112 2004
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IN THE- UNITED STAT'ES DISTRICT coram IN AND FOR

 

THE msch OF COLUMBIA
Thollias G. Houlahan,
4-602 _43rd Si;re_et; NW #1
Washiiigton, DC :200.16
{202) 362-5913
7 maintain
Vs. _- ‘ CASE NUMBEH"“ 'i'= culch 11 6 1

. JUDGE: Henr
. _ - Y H. Kenned
Wmd- Wid¢ A_ssociati@n @f_ Y

. Spécl'al.iy Prqgrams and DECK TY_PE= PJ-”G Se General C’ivil-
Sc_ho`¢_)ls, a Corporation, DATE STA _ \
321N.Man-Drive,_:r-161 _ _MP_=_ @?/12/2004

St George, Utah 84776

. rm_.)i_.-_ "( _"'i€`-_-’ *_.“"j- ; j'»¢&.¢.
Freeman Wall Ajefio, a P-artnership, ` ` ' ' " "
501 S. Cheri‘y Street, Suite 550
I)eilvei‘, CQ 80246

 

Kennei;h _Kay, an Individuai,
321 N. MaH`I)rive, T-l{}_l ‘
St`G`e`orge, Utah 34770

Jam-es Wau,-anl;;dividim:, y _
591 S. 'Cherry S;ti"eet, `S_ui`t¢ 550
Benver, CG 80246

 

-Defendants.

 

Complain.f and Jury; Dema;nd

Now comes Piaimii£_ mims G. H@mahan and hereby.~;ompiain against the defendants
as f?s§ilows:l ' ` '

 

Case 1:04-cv-01161-F.]S Document 1 Filed 07/12/04 Page 2 of 14

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Parties
Thomas G. _Houlahan is domiciled in New H€l_ll”lpshire_ and resident in the District of

Coiumbia.

Defendant World Wicie Association of Speciaity Programs and Schools Chezreinafter

‘‘W'§_WSif’ASPS”)l is an association of rees behavior modification ihciiities.

WWASPS is a corporatisn, organized under the laws ofthe S-tate of Utah, With its.principai_

piace of business in S-t.' George, Utah.

Defendant. Ken Kay is the president ofWWASPS' and acted on its b;ehaifin his actions as

hetéin déscn`bed.'
Ken K'a§r is a'resident ofUtah.
Defendant- Freelilan Wail Aieiio is a pubiic relaiions firm

Freema,n Waii Aiello is a padnership rorganiz:edunder the laws ofth_e Stax'e of Coiorad@,

With its piincipzfi places of busiuéss in Denver_, Coiorado. n

Freerhan Waii A_iello was an agent of WWASPS and acted on its behalf in its acfi<zns as

herein described

 

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Case 1:04-cv-01161-F.]S Do'cument 1 Filed 07/12/04 Page 3 of 14

Defendant Iames Wall is a partner in Freeman. Wall Aieiio. and acted on its behalfin his

actions as herein described
_Jarnes Waii is a resident of`Colorado.
£\n'is_di@_a
Det`endants have caused injury to P}aintift` through faise, misteading and defamatory
statements to residents of the D£strjiet of Coiumbia and t'o`.othet' persons causing damage to

Piajntift’ s business and personal reputation with the Distriet of Columbia.

Defendants are subject to personai_;jutisdiction in the District of_Coiumbia pursuant to DC.

Code Ann. § 13-`423.
T-he amount in_controversy exceeds $75`,000 exclusive ofcos'ts_
Iurisdictien is proper in this const pursuant to 28 U_SC § 1332 for diversity ofeitiaenship.

Venue is proper-in this court pursuant to 28 USC § -1391`.

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Case 1:O4-cv-01161-F.]S Document 1 Filed 07/12/04 Page 4 of 14
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Gen`eral Allegations
Plaintitt` is ja journalist writing principally for 'United Press Internati.c_nal ifhereinaiter

“UPI”)".

For sixteen months Plaintitl‘ has been investigating the teen behavior modification industry

for a series of articles

After speaking _with industry e)_rp.erts,l it became resident that tile Worid Wi_cle Association of
Specialty P‘rograrns and Schools, one of tli_e‘ largest operators in the tieid, Was Widely `

believed to be operating below industry standards in a number of areas

lin speaking ninth fenner facility residents,`_ officials of member facilities and government

ofl“icials,_ Piainti;ii~` found persuasive evidence ofabuse and neglect at WWASPS facilities

Aiter \spealringwitn psychologists it became;evident that some of tire methods employed

en ne reese et WwAsPs member reenines eeera be peeneiegieeny tenant

Upon learning that the results ofPiaintift’_s investigation Were not _ilattering" to WWASPS',
the organization detained Plaint_ili`in an attempt to damage his credibility ndtl’r`his editor

and the public

 

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Case 1:O4-cv-01161-F.]S Document 1 Filed 07/12/04 Page 5 of 14

its \t,/

In the course of his investigationj Piaintiii` was told by a Witness that a teen by the name of
Matt Guvrean, Who`_Wa-s a resident at WWASPS-’ Iv_y Rid'ge Acadeniy in Ogdensburg, New

York,.was physically assaulted by a junior staff member, causing severe injuries

During an interview Plaintii`f brought this incident to the attention ofJas'on-_]?iniinson,_
director and part owner of the Academy at Ivy R_i_dge and Mr. Iames Wall of the hon of

Freeman Wal`i Aiello.

Mr. Finlinson_ at first denied that the incident_too_k place Af’cer being toi‘;d that PlaintiE’ had

a reliable eyewitness, Mr Wall said he would look into the matter

the-renewing aay, mesne-receives as ames from an Wai._ rs the e_mai-i',_ tva Was _
mate that nn stanton iad enacted ns morse ana amana rea eastman had in

fact received stitches, hat claimed that the inqu Was the result of “horsepiay.”

ran ar magnet investigation amivaa.iaoiang iam claims by_paiaas affects emery

enrolled in WWASPS facilities that they had been given false information about their

' ehildren’s behavior_in orderi` to _persuade..thel` to send them toi_the Tranqii`ility Ba-§r faciiity

in sr_.e_lizabetig emma

Tranquility Bay. Sehool is owned By Jay Kay, the son of Ke_n Kay, WWASPS’ president '

 

 

 

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Case 1:04-cv-01161-F.]S Documentl Filed'O7/12/04 Page€of 14
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111 Jan_uary of 2004, Plaintifi" learned that Mrs. Laura Boatright of Gaithersburg, Maryiand

had receney emerged her gen from Ivy wage Academy m Tra,nquiiiiy Bay.

Plainti&` called _Mrs Boetright.te ask her Why S_he Was toid by authorities at Ivy Ridge that

her sen should to be moved to Trai:_xquility Bay.

In the course ofthe_ -conversation, P_lainti&`i'eam_ed that.Mrs;.` Boa-t'right Was: the mother of

`Mat_t_ (:_;`niwrie‘<irl3 and that=it was-\.Mattiwho:hadbeen movedte Tranquility Bay..

011 learning this, ]?Iaintiff` recounted the witness’ account-of what had`happened;te: her sen

and asked What she hed_.been told about the incident
Sh'e replied that she had been told that Mat`t had_“jumped into the doerfi_*ame;"’
Mr& Boatri_gh‘t then caii_.ed Ken Kz,i'y1 l

Defendam§ Kay made false statements to `Mrs_ Boaiiight `regardjngl__PfaithiH_’-s metivations,_

truthfcdness, and integrity

A press release_is‘sued by JfamesWali on 5_ Februa'ry quoted Ken Kay regarding the

exehange._: ‘~‘A.s_ soon as W_e told`her about Mr. Houlahan add his agenda', she edited-down

'and- emailed us fhe deta_ifed`n_otes she took during the exchange with Mr Houlahan.”

 

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Case 1:04-cv-01161-F.]S Document 1 Filed 07/12/04 Page 7 of 14

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-Ori 29 fanuary, Defend-ant Iames Wall sent an e-_inaili- to Tobin Beck, Senior Edito_r at UPI

in the Distri_c_t of Columbia.

ln it, `Wai'l wrote; “I definitely feel that tile organization l represent is being targeted and

attacked in a vicious and subjective nianner.”

Wali: also font/aided e-mails he had exchanged with Plaintiii‘ with the request that Mr Beck

read them

T_lie e-maii's contained the following defamatory statements-, made to Plaintii`f, and

published to Mr. Beci<.

“'Ihe fact that you are now purveyi_ng_yonr perveise views (torture', abuse,_ battery, 'etc.) in
personal telephone conversations to parents of children Who have contractual relationships

with Ivjf`RidgefI‘B could well be an issue for their attorneys to take up.`”

“_l view this_cond_eet as v_v`_iiolly unetiiicai conduct ii*on_i a journalistic point of `view; No_t
only that but what you said to Ms. Boatright may W'ell constitute defamation and tortious

interference ”

 

 

 

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ease 1:04-cv-01161-FJS Docu'r'n'em 1 Filed 07/12/04 Page s of 14

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“It is clear that your role as a journalist is being eclipsed by your Very negative Views on
WWASPS schools 'Contacting a patenting [_s'ic} and renting forth is Weil beyond the scope

ofyour duty as a reporter.” `

'On 4 Februaify, Wall sent Tobi'n Beck another e»rnail in Whieh Wall Wrote: “Thornas

stepped outside the boundaries othis work as a`UPI stringer and into an ‘activist’ role.”

On 5 Febreary lanies_ Walli issued a press release, “to education and legal affairs editors”` on

behalf er WWAsi>s.

Pl_aintiit` alleges on information and belief that the press release Was- intended to circulate-

througiiout tile United States, including the Bistiict-of Colurnbi`a_, and did so.

-The. press release quoted Ken- Kay__ as saying “Mr Houiahan"lias gone heyond being a

dedicated reporter. He has become Wl_iat We can onlyr term a destructiire and biased force..”
lt also said that “Kay states that lie knows of similar instances in which Mr Hoolahan has

called parents and alleged`falsities.”
Botli statements are defamatory

On Monday, `Fcbrua`:r_y 23, 2004, Ken Kay; sent out an e-_inail “To all our Support Gt.oup

Leaders.”

 

 

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Case 1:04-cV-01161-F.]S Document 1 Filed 07/12/04 Page 9 of 14

@ in

WWASPS. has support groups throughout the Un_i-ted _States, including the District of

Colurnbia.

In the e-maii, Kay -wrote: “l would like to thank_aii ofyou who have assisted us in
contacting the Editor at UPI regarding Mr. Houiahan’s (repo_iter) inappropriateness We
now have documented, court-fried information regarding Mr. Houiahan’s contact and
inappropriate iegai advice, ccunseiing,= and psychological test coaching to an eac-student
(minor). He is clearly out to damage us,- our member schools, and §rour- right as parents to

do what you need`to do for your iamilies.”
These statements are`faise_ and injurious

Det`endant Ken Kay knew them to be false or acted recklesst in not determining the truth

of the information

Defendarn lames Wall knew them to be false or acted recide_ssly in not determining the

truth of the information

v

Fu‘st '}Causie`of Acti.o_n

 

In_tenticnal lnte_rference with Brojspectivc Eeonomie Ad-vantage by J.ames Wajii,- `WWASPS

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Case 1:O4-cv-01161-F.]S Document 1 Filed 07/12/04 Page 10 of'14

~W/" ass

Plaintiii" incorporates the preceding allegations of this conn)laint as though fully set forth l

herein
PlaintiH"s relationship With UPI depends upon his credibility Wit:l-l UPI

De_fendant lanes Wall internionally and willfully published false anchor misleading

nn`ormation about Plaintili.` to Tobin Bec'lc, a Senior Bditor at UPI.

I`)et`endant lames Wall knew the inforniat_ion;_published was.false or acted recklessly in not

determining the truth of the oxformation.

Defendant lames Wall published such false and/or misleading statements with the intent of
damaging -Plaintiif*_ s reputation preventing or delaying publication or altering his work,.

and .sabotaging his relationship with UPI.

'].`he false andtor misleading information published by defendant james Wall_ prozdmately
caused "Plainti_&` to suffer damage to his!reputation, loss and delay of income, and economic
loss and costs associated with correcting the_faise and!or misleading statements published -

by Mr. Wall.

Jar_nes Wall committed these acts within the scope of his authority as WWA'SPS? public

relations representative

 

 

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Case 1:O4-cv-01161-F.]S Document 1 Filed 07/12/04 Page 11 of 14

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J ames Wall connnitt'ed the tort in his capacity as a partner in Dei`endant Fre'er_nan Wall

A_iello.

Plaintitt` is entitled to general special and punitive damages

 

Second_ Cause of Action`_
Befaitiatinn By Ken _Kay and WWASPS
Plaintiff incorporates the preceding allegations of this complaint as though fully set forth

herein

D_efend`ant Ken Kay intentionally and willlhlly made false andfor misleading statements

about 'Plaintili`to M`rsl Boatrig'l_rt and other potential sources

Defendant Kcn Kay committed slander_;pe_r sej as his comments adverser reflected.npon

Plainti;&" s conduct_in business or a profession

Defendant Ken Kay’s comments in the 5 Febru&ry press release constitute a separate
instance of slanderper se, as his comments adversely reflected upon Plaintiii`s conduct in

business or a profession

 

 

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Case 1:O4-cv-01161-F.]S Document 1 Filed 07/12/04 Page 12 of 14

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These statements and press release were intended to conceal damaging information about
WWASP S_ facilities and practices and to prevent parents from cooperating in Pla-inti`ti’ s

investigation

Det`endant_Ken Kay committed these acts Within the scope of his authority as President of

WWASP`S.

_'I`hird Cau_se of Actio'n
Libel' by Jam-es; Wair,- WWASPS,.`and- Fi_~eemanw'au Ai'euo.
Pl`aintift` incorporates the preceding allegations of this complaint as though fully set forth

herein

instances ames win materially ana tenney publishes false india assessing 7

' hawaiian about manson writing is robin nasa a senior adam ai opt

lathes W.`all committed these acts within.the scope of his authority as WWASPS’ public

relations representative '
§aines `W_all committed the tort in his capacity as a paitner at Freeijnan Wall A_iello.

PIaintiH` is entitled to general, special and plantiV-e damages

 

 

 

 

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Case 1:O4-cv-01161-F.]S Document 1 Filed 07/12/04 Page 13 of 14

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Fou_-rth Caus'e,of Action
Lihel by ali I)ef'endants
Pla_intifi` incorporates the preceding allegations of this complaint as though fully set forth

herein

Iarnes Wail` and Freernan Wa}l Aieiio published the 5= Febrnary press rei.case, Whic_h carried

a Written repetition ofKen K_ay"s slander against Piairrtiff.
”[he press release Was issued on behalf of‘WWASPS.
The press release was approved-byl§en Ka'y, in his capacity as_presid_ent of WWASPS.

The. 23 F`ebntaiy' e-rna_ii to ‘f“all our Snppo_rt: Grou_pLeaders” constitutes a separate act of

libel by Deforidant Ken Kay. '
`The-_ e-inaii was issued by K`en Kay in his capacity as WWASPS’ president

Plaintift` is entitled to generai, special and punitive damages

7 S. Now, Wl'ierefore, _]1"£'aintif`fira_i;is;_i for judgment to be entered-against.the Det`endants for the

following

 

 

 

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ease 1:04-cv-01161-FJS Documem 1 Filed 07/12/04 Page 14 of 14

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Conipensatory damages for direct economic loss and general damages for harm to

Piaintiii” s reputation;

Darnages» arising born D'efendants’ deiamatory publications;

Piir:itive damages to punish ll?et`s::ndan_tsz conduct and to deter others from publishing
similar defamatory and false statements made wiilf`tilly, maliciou'siy, and With. harm to
Piaintiff.

For_ costs and attorneys’ fees and interest as provided by iaw.

Jug. D_erna_ncl

Pl-aintiflis hereby demand trial by jury of each cause of action set forth herein

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%»»/ML__.

Th_ornas G Houlahan

4602 431"(£ Street, NW #1

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